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     EXHIBIT
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              COMMONWEALTHOF THE NORTHERNMARIANA ISLANDS
                                      SAIPAN, MARIANA ISLANDS


                                           LEASE AGREEMENT
                                                   (LA 15-002S)


           This Lease Agreement (hereinafter the "Lease") is made and entered into this
·~                 day     of        ~-\       l                       ,     2015,   (hereinafter    the
 "Commencement Date"), by and between the DEPARTMENT OF PUBLIC LANDS
 (hereinafter the "DPL"), established under Public Law 1S-2, having authority and
 responsibility over the management, use and disposition of public lands in the
 Commonwealth, whose offices are presently located in Dandan, Saipan, Northern
 Mariana Islands, and IMPERIAL PACIFIC INTERNATIONAL (CNMI), LLC, a
 CNMI Corporation (hereinafter the "Lessee"), its successors and assigns.


                                           WITNESSETHTHAT:


          WHEREAS, the Lessee desires to lease public land in Garapan, Saipan,
Commonwealth of the Northern Mariana Islands, for the purpose of constructing,
developing, and operating its Initial Gaming Facility ("IGF"), which includes a luxury
hotel, casino, and associated facilities; and


          WHEREAS, the DPL requires a non-refundable application fee of $2,500.00 for
investments greater or equal to $500,000.00, or for proposals encompassing more than
one (1) hectare of public land, otherwise the non-refundable application fee is $1,250.00;
and
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             WHEREAS, on October 15, 2014, the Lessee paid the non-refundable $2,500.00
   lease application fee; and
             WHEREAS, the DPL requires a security deposit of $250,000 as good faith
   commibnent to undertake and complete the lease project; and
             WHEREAS, the DPL, being responsible for the management, use and disposition
   of public lands in the Commonwealth finds it desirable, beneficial and in the interest of
   the Commonwealth and public land beneficiaries to permit the Lessee to use public land
  for such a purpose.
             NOW THEREFORE, in consideration of the mutual covenants and benefits to
  be derived herein, the parties agree as follows:


  ARTICLE 1: GRANT OF LEASE
            The DPL leases to the Lessee the below-described public land (hereinafter the
  "Premises"), more particularly described as follows:


            Tract No. 21049-R2 containing approximately 328 square meters,
            more or less, as shown on DLS Check No. 2021/15 recorded at the
            Commonwealth Recorder's Office on March 18, 2015, as File
            No . 15-0542.

           Lot Numbers 104 D 08, containing an area of approximately 720
           square meters, more or less, Lot No. l 04 D I 0, containing an area
           of approximately 1,378 square meters, more or less, Lot No. 104
           D l lR/W, containing an area of approximately 1,390 square
           meters, more or less, and Lot No. 104 D 12, containing an area of
           approximately 15,338 square meters, more or less, as shown on
           DLS Check No. 104 D 04 recorded at the Commonwealth
           Recorder's Office on March 19, 2015, as File No. 15-0844.

           Provided however that in the event Lessee ceases to hold an exclusive leasehold
interest in Lot Number 21050, 21052, or 21054 this lease shall terminate with respect to
Lot Number 104 D 11R/W and a11right title and interest in Lot Number                104 D
l IR/Wshall automatically revert to the DPL without notice or action on the part of either
party, and Lessee shall cease all use and occupancy thereof.



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 ARTICLE2:PURPOSE
          The Lessee shall use the Premises to construct, develop and operate a resort
 including a luxury hotel, casino, and related facilities, which are more particularly
 described as its Initial Gaming Facility as hereinafter defined in this Lease. The IGF
 shall be a newly constructed complex consisting of two hundred and fifty (250) rooms
with casino floor space of approximately 2,200 square meters (excluding back areas) and
related amenities. The IGF guest rooms, services, and facilities shall be at the quality
identified by the AAA Lodging Criteria for five star establishments.


          Lessee agrees to use the Premises in a reasonably prudent manner, so as not to
cause nuisance or hazards to the public, and to not allow, permit, or suffer, any waste or
unlawful, improper or offensive use of the Premises.


ARTICLE 3: TERM
          The term (hereinafter the "Term") of this Lease shall be for a period of twenty-
five (25) years, unless otherwise terminated or cancelled pursuant to applicable
provisions of this Lease. The Term of the Lease shall commence on the Commencement
Date as set forth above.
           Pursuant to P.L 15-2, the DPL may not transfer a leasehold interest in public
lands that exceeds twenty-five years including renewal rights. An extension of not more
than fifteen years may be given upon approval by three-fourths of the members of the
legislature. Accordingly, after the first (151) anniversary of the execution of this lease,
Lessee may request a lease extension ofup to fifteen (15) years.


ARTICLE 4. RENTAL


          The Lessee, in consideration of the foregoing, shall pay to the DPL, in the manner
prescribed herein, in lawful money of the United States. Lessee agrees to pre-pay rent in
the amount of$250,000.00 upon the signing of this Lease for the first one (1) year period
of the Lease. Thereafter the rent shall be paid annually in advance based upon the then
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        current appraised fair market value of the unimproved land of the Premises in the
        amounts set out in the Section A below. The parties agree and stipulate that the fair
        market value of the Premises upon lease signing and for the first five (5) year period of
        the Lease is $5,000,000.00. The Premises shall be appraised every five years during the
        term of the Lease and such appraisal shall be the basis for calculation of the Guaranteed
        Annual Minimum set forth in Section A below:


                  A.         Rental Schedule.
                                                  GUARANTEED                           ALTERNATIVE PERCENT
        PERIOD                                  ANNUAL MINIMUM                          OF GROSS RECEIPTS

         A. Rent Payment Schedule
                                                    GUARANTEED                         ALTERNATIVE
                                                                                                PERCENTOF
                     PERIOD                       ANNUALMINIMUM                           GROSSRECEIPTS
          1st Five-Year Period                  5.0% of Appraised Value                Not Applicable
         2nd Five-Vear Period                   5.0% of Appraised Value                Not Applicable
         3rd Five-Year Period                   5.0% of Appraised Value                Not Applicable
 g'                                             2.5% of Appraised Value           or   0.50%   whichever is greater
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         4th Five-Year Period
                                                3.0% of Appraised Value           or   1.00%   whichever ls greater
rJ'.l    5th Five-Year Period

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        If the lease is extended the following Payment Schedule shall apply:

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i:'l
                                                    GUARANTEED                         ALTERNATIVE
                                                                                                PERCENTOF
0                    PERIOD                       ANNUALMINIMUM                           GROSSRECEIPTS
~

         6th Five-Vear Period                   3.0% of Appraised Value           or   1.25%   whichever is greater
         7th Five-Vear Period                   3.0% of Appraised Value           or   1.50%   whichever is greater
         8th Five-Year Period                   3.0% of Appraised Value           or   1.75%   whichever is greater



                  The percent of gross receipts listed above shall be assessed against the gross
        receipts as defined in Article 40G. Should the Guaranteed Annual Minimwn rental be
        less than the Alternative Percent of Gross, the Lessee shall pay to the DPL the difference
        within one-hundred eighty (180) days from the end of the lease year in which the
        difference occurs, such adjustment shall be based upon Lessee's annual certified and
        audited financial statements as provided in Article                       11 hereof. A copy of the CNMI

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  Business Gross Revenue Tax Monthly Return must be submitted each month, together
  with the computation of the monthly gross receipts.


            The total area for the public land lease is approximately 19,154 square meters and
  the total area of private land acquired by Lessee is approximately 20,050 square meters.
 As a material inducement for the DPL to enter into this lease at the rates set forth in this
 Article 4, the Lessee has agreed to pay the above stated percentage of the gross receipts
 earned on both the public lands and the private lands acquired by Lessee. Moreover, DPL
 is cognizant of the statutory obligation pursuant to Public Law 18-56 (d)(l) and (e) and
 acknowledges it to be a great benefit to the CNMI and the people of Northern Marianas
 Descent. Therefore, to ensure success of Lessee's entire project, DPL has agreed to the
 above rates.
            B.        Manner of Payment. The Lessee shalJ discharge its obligation of
 payment by depositing the payments required under this Article with the DPL, presently
 located in Dandan, Saipan, Northern Mariana Islands, or in such manner as the DPL may
 from time to time designate in writing.
            C.        Time and Payment; Interest; Amortization. All rents payable pursuant
 to the terms of this Lease shall be deemed to have commenced on the first day of the
 month after the Commencement Date of this Lease, and shall be paid without prior notice
 or demand. Past due rental payments shall bear interest at one percent (1%) per month
 compounded monthly, from the date it becomes due until paid. This provision shall not
 be construed to relieve the Lessee from any default in making any rental payment at the
 time and in the manner herein specified, but is subject to the amortization provisions set
 forth herein.


ARTICLE 5. APPRAISAL AND DETERMINATION OF RENTAL AFTER EACH
           FIVE YEAR PERIOD

           At the end of the initial five (5) year period of this Lease and each succeeding five
 (5) year period, the Guaranteed Minimum Annual Rental payable by the Lessee to the
 DPL shall be based upon the percentage of the appraised fair market value of the
unimproved land as of the commencement of each five-year period, or the percent of
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gross receipts pursuant to Article      4A and as defined in Article 400, whichever is
greater. The appraisal of the Premises for the term set forth above and any permitted
extensions (but not lease renewals or replacements) shall be based on the fair market fee
simple value of the unimproved land. The required appraisal report under this Article
must be performed by an independent CNMI certified general real estate appraiser who is
also licensed to practice real estate appraisal services in the CNMI to be selected by an
agreement between the DPL and the Lessee. In the event that the DPL and the Lessee
cannot reach an agreement on the selection of the appraiser, a committee of three (3)
arbitrators selected by the Lessee and DPL shall select the appraiser. The cost of
appraisal will be borne by the Lessee.

ARTICLE 6. SECURITY DEPOSIT

          The Lessee agrees that within thirty (30) days of Commencement Date of the
Lease, the Lessee will deposit its payment of $250,000.00 as a Security Deposit with the
OPL. The Security Deposit wi11he held in an interest bearing account of the OPL as a
security that the Lessee will comply with all the terms and conditions imposed by the
Lease. The security deposit also indicates Lessee's good faith commitment to undertake
and complete the construction, development and operation of a luxury integrated hotel
and casino resort, and related amenities.
          If the Lessee defaults on this Lease prior to the expiration of this Lease, the DPL
shall keep the Security Deposit to cover unpaid rent, administrative costs, attorneys' fees,
damage to the property, and/or other expenses.
          At the expiration of this Lease, the DPL will inspect the public land and fully
document the condition of the Premises to ensure that the Lessee has complied with an
terms and conditions of this Lease before returning the $250,000.00 Security Deposit to
the Lessee together with accrued interest thereon. However, should the Lessee violate
any provision of the Lease after the expiration date of this Lease, the DPL will provide
the Lessee with a written notice including an itemized list as to why the full Security
Deposit amount is not being returned and a check for any remaining Security Deposit
owed to the Lessee after such deductions have been made.


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          The DPL may use as much of the Security Deposit as necessary to pay for unpaid
rent, administrative costs, attorneys' fees, damages, or other expenses resulting from
Lessee's use of the Premises or from any default of the Lease by the Lessee. If the DPL
uses all or part of the Security Deposit for the reasons set forth above, the DPL may
demand that the Lessee replace the amount of the Security Deposit used by the DPL and
the Lessee shall comply with such demand.

ARTICLE 7. PERMITS, CONSTRUCTION PLANS, AND SPECIFICATIONS

          A.        Financing of Project.      The Lessee agrees and covenants that within six
(6) months from the Commencement Date of this Lease, it will submit to DPL evidence
of its sources of financing for the proposed development of a first class hotel villa resort
complex and associated amenities. The document listing the sources of financing must
be drafted with sufficient specificity to be verifiable and acceptable to the DPL.
          B,        Construction      Plans and Specifications.      The Lessee agrees and
covenants that within six (6) months from the Commencement Date of this Lease it will,
at its own cost, risk and expense, submit to the DPL its complete construction plans and
specifications, which must include a conceptual design of the development of the
Premises. Upon submittal by the Lessee, the DPL shall have thirty (30) working days to
review the submitted construction plans and specifications and to notify the Lessee of
approval or disapproval of the plans. Approvnl or disapproval of Lessee's construction
plans and specifications shall be subject to relevant laws and regulations. In the event
that changes are necessary, the DPL shall give the Lessee reasonable time to make the
necessary changes to the plans for re-submittal. If the DPL does not notify the Lessee in
writing of the status of the submitted plan within the thirty (30) working day review
period, then the plans and specifications are deemed approved.
          C.        Permits.          The Lessee agrees and covenants that within nine (9)
months from the Commencement Date of this Lease it will, at its own expense and risk,
secure all required CNMI Government and applicable Federal permits for the
development and construction to be completed on the Premises. Copies of such permits
must be delivered to the DPL within fifteen (15) days of their issuance . If the Lessee is
unable to secure and submit to DPL the required permits, then it must notify the DPL in
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writing within the 15 day period of its reason for the delay in securing the necessary
approval and its request for extension. The DPL shall have a period of fifteen (15)
working days to approve or disapprove Lessee's request for an extension. If the DPL
fails to respond to Lessee's request within the 15-day period, then Lessee's request for an
extension shall be deemed approved.



ARTICLE 8. CONSTRUCTION SCHEDULE
              The Lessee agrees and covenants that within the time hereinafter stipulated in the
Project Requirements (as hereinafter defined), it will, at its own cost, risk and expense,
use its best efforts to build, construct, fully equip, and furnish, the basic structures of the
Initial Gaming Facility as specified in the construction plans, specifications, and pennits
delivered to DPL pursuant to Article 7 above. Time is of the essence.


ARTICLE 9. CONSTRUCTION, MAINTENANCE, REPAIR, ALTERATION
             All improvements, renovations, and repairs placed on the Premises shall be
constructed in good workmanlike manner and in compliance with applicable laws,
regulations, ordinances, and building codes. All portions of buildings located upon the
Premises exposed to perimeter properties or to the public view shall present a pleasant
appearance, and all service areas shall be screened from public view . The Lessee shall, at
all times during the Term of this Lease and at the Lessee's sole cost and expense,
maintain the Premises and all improvements thereon in good order and repair and in a
neat, sanitary and attractive condition .
             Two (2) years prior to the expiration or termination of this Lease, the DPL shall
retain (at Lessee's expense) an architectural and engineering finn of its own choosing to
evaluate the as-built facility together with its approved engineering, blueprints and
designs and estimate the future cost to segregate the Lessee's improvements upon public
land from Lessee's improvements upon private land ("cost estimate" or "funding") in
order to render the public land improvements freely operable and unimpaired
("segregation") upon the expiration or tennination of the lease term. All costs related to
such undertakings shall be the responsibility of Lessee.

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         Lessee's obligations with respect to the segregation and funding set forth herein
shall be secured by a pledged security of Lessee's present and future interests beyond the
tenn of this Lease, in Tract Nos. 21050, 21052, 21059, 21054, 21066, 21071, 21072 and
Lot 2, Block 44 T.D. 1440 (the "Private Lands"), in the form attached hereto as Exhibit
A. Such pledged security shall be executed and recorded simultaneously herewith. At
such time as Lessee's obligations with respect to the segregation and funding are satisfied
or if sufficient funds are deposited with the DPL to satisfy these obligations, the DPL
shall release said private leasehold interests from the pledged security to Lessee within
thirty (30) days of completion of segregation activities. In the event the DPL is forced to
enforce its lien to raise funds for segregation as a result of Lessee's breach or otherwise,
DPL's damages may be offset by the fair market value of the remaining leasehold interest
in the Private Lands at the time of entry of a final judgment by a court of competent
jurisdiction.
         Immediately upon expiration or tennination of the Lease, Lessee shall undertake
all necessary permitting, demolition, and construction to ensure that when the DPL takes
possession of the resort improvements, such improvements shall not be dependent upon
adjacent private lands. The DPL will reasonably assist Lessee in the permit application
process. The holdover provisions set forth herein shall apply until all work is done and
the project including all improvements is surrendered and turned over to DPL.
          Unless the same are to be promptly replaced with improvements having at least
an equal value, no removal or demolition of improvements which have an aggregate
value in any calendar year in excess of $50,000.00 shall take place without the prior
written notice to DPL with details of the planned changes. Lessee may request the DPL
for approval of additions and demolitions of improvements of the specified amounts
stated herein, and such request for approval shall not be unreasonably withheld or
delayed by the DPL. No removal, demolition, or additional improvements having a value
in excess of $1,000,000.00 shall be effected on the Premises without the prior written
consent of the DPL, which consent shall not be unreasonably withheld or delayed. The
Lessee shall indemnify and hold hannless the DPL and the CNMI Government against
liability for all claims arising from the Lessee's failure to maintain the Premises and the
improvements situated thereon as hereinabove provided, or from the Lessee's violation of
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any law, ordinance, or regulation applicable thereto.


ARTICLE 10 EXCUSED DELAY OF PERFORMANCE
           Whenever under this Lease a time is stated within which or by which original
construction, repairs, reconstruction or other performance by the Lessee shall be
commenced or be completed, and a failure or delay in such performance is due, in whole
or in part, to fire, explosion, earthquake, storm, flood, drought or other unusually severe
weather conditions, accident, breakdown of machinery or facilities, strike, lockout,
combination of workmen, war, insurrection, riot, act of God or the public enemy, or any
contingency or delay or failure or cause of any nature beyond the reasonable control of
either party, whether or not of the kind hereinbefore specified and whether or not any
such contingency is presently occurring or occurs in the future, including but not limited
to, the discovery of human remains, fossils, bones, and relics considered to be of
historical importance or value, and such failure or delay does not result from the fault or
negligence of the Lessee, the period of delay so caused shall be added to the period
allowed herein for the completion of such work provided, however, that the Lessee shall
notify the DPL in writing within thirty (30) days after it becomes aware of             the
occurrence of any of the above events.


ARTICLE 11. ANNUAL REPORTS AND AUDIT
          The Lessee shall, not later than one hundred eighty (180) days after the end of
Lessee's fiscal year during the Term of this lease submit to the DPL financial statements
audited by public accountants certified and licensed in the United States, which shall
include a schedule of gross receipts indicating sources and deductions in support of the
gross receipts rental requirement under Article 4A. Any duly authorized representative
of the DPL shall have access to and the right to examine and audit any or all pertinent
books, documents, papers and records of the Lessee and its sublessees and
concessionaires relating to this Lease during the normal business hours of any working
day. Lessee shall insert a similar provision in all subleases pertaining to this right of
access, examination, and audit, and shall make available to said representativc(s) or
agent(s) all books and records of the Lessee or its sublessees and concessionaires which
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may be requested or may be necessary for completion of a special audit of any or all
activities or enterprises conducted on the Premises.             The DPL acknowledges that its
activites pursuant to this provision may be monitored by the Casino Gaming
Commission.
           The Lessee shall keep and maintain its accounting and bookkeeping system in
accordance with generally accepted accoW1tingprinciples applicable to the industry. The
Lessee shall keep its accounting books and records at all times in the English language.


ARTICLE 12. PUBLIC BENEFIT OBLIGATION
     1. Public Benefit
The Lessee, in consideration for granting of this Lease, covenants and agrees to provide
the following benefit to the general public and residents of the CNMI:
          A. Protection, Maintenance and Public Access to Major Archaeological and
Historic Sites. The Lessee, at its own cost and risk, shall protect and maintain for the
benefit of the general public those sites, objects and features possessing historic and/or
archaeological significance which have been identified through appropriate professional
archaeological surveys conducted in advance of the leased Premises development. These
archaeological surveys, which shall be conducted at Lessee's expense, shall be developed
and implemented in consultation with the Historic Preservation Office, Department of
Community and Cultural Affairs.        The Lessee shall also provide adequate corridors for
reasonable public access to these sites.
          B. Shoreline Access. The Lessee, at its own cost and risk, shall provide and
construct reasonable public shoreline access through and along its leased Premises . The
shoreline access plan must be coordinated with and be reasonably agreed upon by the
Lessee and the Office of Coastal Resources Management and/or other agency responsible
for such activity. In addition, Lessee, at its own cost and risk, shall either provide and
construct facilities at beach areas within the Premises or pennit the general public to
utilize public restroom facilities upon the Premises.                In connection with these
requirements, and as additional consideration for this Lease , Lessee covenants and agrees
to construct and improve a penneable parking lot on public land as more fully described
on Schedule 12 B which is attached hereto and incorporated herein by reference.
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 Temporary authorization will be granted to Lessee to permit it to undertake these
 improvements on land outside of the Premises.
            C. Local Rate and Accessibility of Hotel and Related Facilities. The Lessee
 shall provide for local rates to the hotel and related facilities for CNMI residents. In the
 event that specified rates cannot be mutually agreed upon, each party shall appoint an
 arbitrator and the two arbitrators shall agree upon a third arbitrator, and the three
 arbitrators shall resolve any dispute between the parties. All costs associated with any
 such arbitration shall be borne by Lessee. In the event any of the above local rates are
 provided for by law, then that part of this section pertaining to that particular local rate
 shall be null and void.


      2. Guarantee of local employment and management training program
The Lessee, in consideration for the granting of this Lease, covenants and agrees to the
 following:
           A. Local Employment. Lessee shall promote and ensure training and hiring of
local residents in a proactive endeavor to achieve an objective maximizing a workforce of
permanent United States and Freely Associated States citizens. Lessee shall comply with
all applicable immigration and labor laws, standards, and regulations including without
limitat ion those set forth at 4 CMC §§ 4413 and 4436 ..
           B. Job Training. The Lessee shall develop and implement a job training
program with such government agencies as the Workforce Investment Agency, Office of
Personnel Management, and the Northern Marianas College, with the approval of the
Secretary of Commerce and the Director of Labor, to train CNMI residents in the type of
jobs required by the Lessee in the operation and maintenance of the Initial Gaming
Facility.




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           C. Management Opportunities. The Lessee shall undertake all reasonable
 efforts to encourage, induce and promote qualified United States and Freely Associated
 States citizens to positions of increasing responsibility and management levels in the
operation and maintenance of the Initial Gaming Facility. The Lessee shall make an
annualreport to the Secretary of Commerce and the Director of Labor on the status of the
Lessee's efforts hereunder.


ARTICLE 13. SUBLEASE, ASSIGNMENT, TRANSFER, CONCESSIONS
          A. Consent Required. Except with the prior consent in writing of the DPL in
each instance (which consent shall not be unreasonably withheld or delayed), Lessee
shall not, with respect to development on the public land leased hereby:
                     (l) Assign, lease, sublease, sell, convey, mortgage, encumber, transfer or
dispose of all or any part of Lessee's interest in or to the Premises, or pennit the Premises
to be used or occupied by others; or
                     (2) Enter into a management contract or other arrangement by which the
activities engaged in on the Premises shall be managed and operated by anyone other
than Lessee; or
                     (3) Grant concessions, permits, or otherwise contract for or permit any
business or commercial enterprise or activities to be constructed or performed on the
Premises by any person other than the Lessee.
          Such approval and/or consent for any of the aforementioned transactions shall not
be unreasonably withheld.
          For the purposes of this condition, "concession, permit or enterprise" shall mean a
privilege or right to sell products or perform services, which are peripheral to Lessee's
proprietary use of the Premises.
          Provided, however, Lessee may transfer, assign or sublease this Lease to any
affiliate or subsidiary of the Lessee in existence at the time of execution of this Lease,
without the consent of the DPL. Provided further that such assignment or sublease does
not result in a change of control as defined in Article 13B.
          The consent by the DPL to an assignment, transfer, management contract, or
subletting may be granted, denied or made subject to such conditions as the DPL finds it
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in the best interest of its beneficiaries. Any purported assignment, lease, sublease, sale,
conveyance, transfer, mortgage or encumbrance of this Lease, whether written or oral, or
any other action for which DPL consent is needed as outlined above, to which the DPL
has not given its prior consent is null and void and is of no force or effect and is a
violation of this Lease.              No sublease, assignment, transfer, or contract shall be valid
without the approval of the DPL, and then only if the respective sublessee, assignee,
transferee, or other contracting party agrees in writing that the provisions of this Lease
bind such sublessee, assignee, transferee, or contracting party.
          Once given, the DPL's consent shall not relieve Lessee, or any subsequent
sublessees, assignees or transferees, in any way from obtaining the prior consent in
writing of the DPL to any further assignment, transfer, management contract, or
subletting.
          For purposes of this section, "Premises 0 includes any portion of the leased
premises or any improvement on the leased premises, and "Lessee" includes Lessee's
employees, successors and assigns.
          B. Change in Control of Lessee. If the sale, assignment, transfer, use, or other
disposition of anyof the issued and outstanding capital stock of Lessee (or of any successor or
assignee of Lessee which is a corporation), or of the interest of any general partner in a
partnership owning the leasehold estate created hereby, or of the interest of any member of a joint
venture, syndicate, or other group which may collectively own such leasehold estate, shall
result in changing the control of Lessee or such other corporation, partnership, joint venture,
syndicate, or other group, then such sale, assignment, transfer, use, or other disposition shall
be deemed an assignment of this Lease and shall be subject to all the provisions of this Lease
with respect to assignments. Such approval and/or consent for any of the aforementioned
transactions shall not be unreasonably withheld.
For purposes of this Article, if Lessee is a corporation or a limited liability company,
"change of control" shall mean any dissolution merger, consideration,                     or other
reorganization of Lessee, or the sale or other transfer of a controlling percentage of the
capital stock of the Lessee, or the sale of at least fifty-one percent (51 %) of the value of
the assets of the Lessee. The term "controlling percentage" means the ownership of, and
the right to vote, stock possessing at least fifty-one percent (51 % ) of the combined total
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voting power of all classes of Lessee's capital stock issued, outstanding and entitled to
vote for the election of directors.
For purposes of this Article, if Lessee is a partnership, joint venture, syndicate or other
group which collectively holds this Lease, "change of control" means a withdrawal or
change, voluntary or involuntary or by operation of law, of any partner, individual or
entity owning more than fifty-one percent (51%) of the beneficial interest in the
partnership, joint venture, syndicate or other group.
For the purposes of this Article, 11contro1'1 of any corporationshallbe deemed to be vested in the
person or persons owning more than fifty-one percent (51%) of the voting power for the
election of the Board of Directors of such corporation, and 11control11 of a partnership,joint
venture, syndicate, or other group shall be deemed to be vested in the person or persons
owning more than fifty-one percent (51%) of the general partner's interest in such
partnership or of the total interest in such joint venture, syndicate, or other group. For
purposes of determining control by a person, members of the family of any assignor or
transferor shall be included. For purposes of this section, "members of the family 11 include
a person's spouse, grandparents, parents, brothers and sisters, nephews and nieces, and
children by adoption and by blood. Lessee shall furnish an annual statement to the DPL
that includes the names and addresses of all stockholders in any corporation or general
partners in any partnership holding this lease, showing the number of shares of stock
owned by each stockholder of such corporation, or the respective interest of the partners in
such partnership, as the case may be. Such statement shall be signed under oath by an
officer of each corporation and by a general partner of each partnership holding this lease.
C. Reorganization of Lessee. Notwithstanding Article            13B above in connection with
any reorganization of Lessee, Lessee may, subject to the DPL's prior written consent,
assign this Lease to a corporation, company, general partnership or limited partnership if 1)
Lessee, or any parent subsidiary or other affiliate of Lessee, is a general partner, in the case
of a partnership, or is the owner of a controlling percentage of the corporate or company
assignee, and 2) the assignee executes an agreement assuming Lessee's obligations
hereunder and 3) the DPL is given sixty (60) days prior written notice of such assignment.
Such approval and/or consent for any of the aforementioned transactions shall not be
unreasonably withheld.
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D. Notice to DPL. Lessee shall furnish a statement of ownership/control to the DPL
prior to the Commencement Date of this Lease, and on the same date annually thereafter.
If Lessee is a corporation, such statement shall include the names and addresses of all
principal stockholders and officers in any corporation acting as Lessee, which
stockholder(s) own more than ten percent (10%) of the total combined voting power of
all classes of Lessee's capital stock issued, outstanding and entitled to vote for the
election of directors. If the Lessee is a partnership, joint venture, syndicate or other
group, such statement shall include the name, address and respective interest of each
person or entity with an interest in the partnership, joint venture, syndicate or other
group.
E. Assignee's                Duties.        No assignment,       sublease or transfer made with
DPL's consent shall be effective until there shall have been delivered to DPL an executed
counterpart of such assignment, sublease or transfer containing an agreement, in
recordable        form, executed        by the assignor,        sublessor   or transferor   and the
proposed        assignee,       sublessee   or transferee     in which the latter assumes due
performance of the obligations on the fonner's part to be perfonned under this Lease to
the end of the leasehold tenn.
F. Assignment Fee. If the DPL consents to an assignment or other transfer, it shall
assess a fee of fifteen percent (15%) of the capital gain attributable to the leased land. The
tenn "capital gain attributable to the leased land11 is defined as the sale amount less the
book value of the property including all the improvements and fixtures. Lessee shall pay
the fee at closing of the assignment.


ARTICLE 14.                  STATUS OF SUBLEASES
         Termination of this Lease, in whole or in part, by cancellation or otherwise,
shall not serve to terminate subleases, concessions, or sub•tenancies, but shall operate
as an assignment to the DPL of any and all such subleases, concessions, and sub-
tenancies.


ARTICLE 15.                AGREEMENTS FOR UTILITY LINES
          The Lessee shall have the right to enter into agreements with public utility
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companies or with the Government of the Commonwealth of the Northern Mariana
Islands and/or any of its agencies to provide utility services, including water, electricity,
telephone, television, and sewer lines necessary to the full enjoyment of the Premises and
the development thereof in accordance with the provisions of this Lease. Subject to
prior consultation with Lessee, the DPL reserves the authority to grant utility rights-of-
way across the Premises. The Lessee shall furnish to the DPL executed copies thereof
together with a plat or diagram showing the true location of the utility lines to be
constructed in accordance therewith. Nothing herein contained shall be deemed to imply
an obligation on the part of DPL to fwnish Lessee with any water services or other utilities
whatsoever. It is expressly understood that the Lessee shall obtain such services at its sole
cost and expense.


ARTICLE 16.              RIGHT OF MORTGAGE
         The Lessee, its successors and assigns may, subject to the express prior written
approval of the DPL, mortgage this Lease and the Lessee's interest hereunder,
provided that no holder of any mortgage of this Lease or the Lessee's interest hereunder,
or any one claiming by, through or under any such mortgage shall, by virtue thereof,
except as provided herein, acquire any greater rights hereunder than the Lessee, and no
mortgage of this Lease or the Lessee's interest hereunder, in whole or in part, by the
Lessee or the Lessee's successors or assigns shall be valid, unless: {i) at the time of the
making of such mortgage, there shall be no default under any of the agreements, terms,
covenants and conditions to be performed by the Lessee under this lease; (ii) such
mortgage shall be subject to all the agreements, terms, covenants and conditions of
this Lease, (iii) any such mortgage shall reserve to the DPL prior right, in the event of
Lessee's default under the same and after notice of the same character and duration as
required to be given to Lessee, to correct the default or to purchase the same and
terminate this Lease; and (iv) such mortgage shall contain the following provisions:
               This instrument is executed upon condition that (unless this
               condition be released or waived by the DPL or its successors in
               interest by an instrument in writing), no purchaser or transferee
               of said Lease at any foreclosure sale hereunder, or other
               transfer authorized by law by reason of a default hereunder
               where no foreclosure sale is required, shall, as a result of such sale
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                or transfer, acquire any right, title or interest in or to said Lease
                or the leasehold estate hereby mortgaged unless (i) the DPL
                shall receive written notice of such sale or transfer of said Lease
                within fifteen (15) days after the effective date of such sale or
                transfer and (ii) a duplicate original copy of the instrument or
                instruments used to effect such sale or transfer shall be delivered
                to the DPL within thirty (30) days after the execution and delivery
                thereof.

          Any mortgage entered into shall be in strict compliance with all applicable laws
and regulations,           including   mortgage    security instrument   laws, or applicable
constitutional provisions, in order to be valid and enforceable. All funds received
pursuant to any mortgage of the leasehold property shall be expended only for
leasehold improvements within the Northern Mariana Islands.


ARTICLE 17. RIGHTS OF LEASEHOLD MORTGAGEES
          If the Lessee or the Lessee's successors or assigns shall mortgage this Lease
or its interest in the Premises, in accordance with the provisions of this Lease, then so
long as any such leasehold mortgage, as hereinafter defined, shall remain unsatisfied of
record, the following provisions shall apply:
          A. Notice to Mortgagee. The DPL shall serve upon the Lessee any notice of
default pursuant to the provisions of Article 27 or any other notice under the provisions
of or with respect to this Lease. The Lessee shall thereafter serve a copy of such notice
upon the holder of the then existing mortgage of this Lease of the Premises. Service of
such notice of default upon the Lessee shall be deemed as service on the mortgagee who
shall thereafter have the same period as the Lessee for remedying the default or causing
the same to be remedied, as is given the Lessee after service of such notice upon it.
          8. Remedy. Such leasehold mortgagee of this Lease or the Premises, in case the
Lessee shall be in default hereunder, shall, within the period and otherwise as herein
provided have the right to remedy such default, or cause the same to be remedied, and
the DPL shall accept such performance by or at the instigation of such leasehold
mortgagee as if the same had been performed by the Lessee.
          C. Diligent Prosecution. No default on the part of Lessee in the performance of
work required to be performed, or acts to be done, or conditions to be remedied, shall be
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deemed to exist, if steps shall, in good faith, have been commenced promptly to rectify
the same and shall be prosecuted to completion with diligence and continuity in
accordance with Article              27 hereof, on "Default", unless otherwise specified in this
Lease.
           D. Termination.           Notwithstanding while the leasehold mortgage remains
unsatisfied of record, if any event or events shall occur which shall entitle the DPL to
tenninate this Lease, and if before the expiration of thirty (30) days after the date of
service of notice of tennination by the DPL all rent and other payments herein provided
for then in default is fully paid, and the Lessee shall have complied or shall be engaged in
the work of complying with all the other requirements of this Lease, if any, then in
default, then in such event the DPL shall not be entitled to terminate this Lease, and any
notice of tennination theretofore given shall be void and of no force or effect, provided,
however, nothing herein contained shall in any way affect, diminish or impair the right of
DPL to terminate this Lease or to enforce any other subsequent default in the
perfonnance of any of the obligations of the Lessee hereunder.
           E. Notice of Termination. In the event of the termination of this Lease prior to
the natural expiration of the term hereof, whether by summary proceedings to dispossess,
service of notice to terminate or otherwise, due to default of the Lessee as provided in
Article          27 hereof, or any other default of the Lessee, the DPL shall serve upon the
holder of the then existing mortgage on this Lease or the Premises written notice of such
termination. Nothing herein contained shall release the Lessee from any of its obligations
under this Lease, which may not have been discharged or fully perfonned by any
mortgagee of this Lease or the Premises, or its designee.
           F. First Mortgage Only. Whenever reference is made herein to the holder of the
mortgage on this Lease or the Premises, the same shall be deemed to refer only to the
holder of the first record mortgage on this Lease or the Premises, if any, as shown by the
records of the Commonwealth Recorder's office. Notice of such mortgage shall be sent
to the DPL by certified or registered mail, and include a copy of the recorded mortgage
certified by the Commonwealth Recorder's office as to the date and time of recordation.
Any notice or other communication to any such mortgagee by the DPL shall be in writing
and shall be served either personally or by certified or registered airmail address to such
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holder or mortgagee at his/her address appearing on such records or at such other address
as may have been designated by notice in writing from such holder or mortgagee to the
party serving such notice of communications. Nothing in this Article shall be construed
so as to require the DPL to serve notices upon or recognize any leasehold mortgagees
other than the holder or such first mortgage on this Lease or the Premises, as aforesaid.


ARTICLE 18.                RIGHTS-OF-WAY FOR UTILITY LINES
        The DPL hereby agrees to grant rights-of-way on or across public lands for
utility lines necessary to the full enjoyment of the Premises and the full development
thereof. Such rights-of-way are to be granted by the DPL in accordance with the
approved general development and construction plans.




ARTICLE 19.               FIRE AND DAMAGE INSURANCE
          The Lessee shall procure upon the completion of construction of the Initial
Gaming Facility, and maintain in force during the entire Tenn of this Lease or any
extension thereof, fire and damage insurance for the Premises in a company or
companies authorized to do business in the Northern Mariana Islands, with extended
coverage endorsements jointly in the names of the Lessee and the DPL, covering the full
insurable value of all permanent improvements on the Premises, subject to appropriate
co-insurance provisions. The policy shall contain a clause requiring that the DPL be
given thirty (30) days notice prior to any cancellation or termination of the policy. A
copy of such policy or policies or an acceptable certificate shall be deposited with the
DPL within thirty (30) days of the same obtained by the Lessee. The Lessee shall pay
all premiums and other charges payable in connection with insurance carried by the
Lessee. In the event of damage to any permanent improvement on the premises, the
Lessee shall reconstruct such improvement in compliance with applicable laws,
ordinances, and regulations and in accordance with the applicable provisions of this
Lease. Such reconstruction shall commence within six (6) months after the damage
occurs and shall be pursued diligently and completed within one ( 1) year of the
occurrence. In the event of damage to the extent of seventy-five percent (75%) or more
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       of the total value of all permanent improvements on the Premises during the last five (5)
       years of the term of this Lease, the Lessee for ninety {90) days shall have the option to
       agree to reconstruct the damaged improvements.                 Should the Lessee fail to notify
       the DPL in writing of the exercise of its option to reconstruct within ninety (90) days of
       the occurrence of damage, the Premises shall be cleared at the Lessee's expense and
       upon completion of such clearing this Lease shall terminate. In the event Lessee shall
       elect not to rebuild damaged improvements during the last five-year term of the Lease,
       all insurance proceeds accruing as a result of the fire or damage, shall be for the sole
       benefit of and made payable to the DPL, or its lawful successors and assigns. Any
       damages incurred or suffered by any sublessee, assignee, mortgagee or otherwise as a
       result of such termination shall be borne solely by the Lessee.
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~      ARTICLE 20.                 LIABILITY INSURANCE
                 The Lessee shall, from the Commencement Date of this Lease, procure and
       maintain in force during the entire term of this Lease or any extension thereof, at its
       sole expense, commercial general liability insurance for the Premises and Operation
       defined herein, with the DPL and the CNMI Government as named co-insureds, in a
       company or companies authorized to do business in the Northern Mariana Islands,
       with a minimum coverage of $50,000.00 for wrongful death, $100,000 .00 per person
       for other tortuous occurrences, and $200,000.00 per occurrence (the limits established
       by Public Law No . 15-22, § S), or such higher amounts as the DPL and the Lessee
       may otherwise agree. Copies of such policies shall be delivered to the DPL within
       thirty (30) days of their issuance, and shall contain a clause stating that at least thirty
       (30) days' written notice shall be given to the DPL prior to cancellation or refusal to
       renew any such policies. Lessee agrees that if such insurance policies are not kept in
       force during the entire term of this Lease, the DPL may procure the necessary
       insurance, pay the premium therefore, and such premium shall be repaid to the DPL
       immediately upon the DPL's demand.
                 All insurance obtained by the Lessee in compliance with this Lease shall be

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 obtained from reputable companies acceptable to the DPL.


 ARTICLE 21. NOTICES
 Except as otherwise specified herein, all notices required or permitted under this Lease
shall be in writing and shall be delivered in person or deposited in the United States mail
in an envelope addressed to the proper party, certified or registered mail, postage prepaid
as follows:

           DPL:                  Department of Public Lands
                                 P .0. Box 500380
                                 Saipan, MP 96950

           LESSEE:               Imperial Pacific International (CNMI), LLC
                                 P .M.B. 918 PPP Box 10000
                                 Saipan, MP 96950

or at such other address as the DPL or Lessee may from time to time specify in writing.
All notices shall be deemed delivered ( 1) on the date personal delivery is made, or (2) on
the date falling three (3) days after the date of the post mark by the U.S. Post Office of
any mail or notice properly addressed and containing sufficient postage.


ARTICLE 22: RESERVATION OF EASEMENTS/MINERAL RIGHTS
           This Lease shall be subject to all existing easements, roadways, and rights-of-way
across or through the Premises. The DPL and the CNMI Government retain the right at
all times to cause the construction, maintenance, operation or repair of public ulililit1Sur
parts thereof on the premises, including, but not necessarily limited to, electric power
transmission, telegraph, telephone and pipelines, and for roads and other community
projects.       Lessee shall be entitled to no compensation from the DPL or the CNMI
government for such uses of the Premises.                  The DPL hereby reserves all rights to
minerals and resources on the Premises, including the right of access to and use of such
parts of the surface of the Premises as may be necessary for the mining and saving of said
minerals. The right of ingress to and egress from the Premises upon which public utilities
and other improvements have been constructed, and for the purposes of inspection by the

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DPL, as well as for the perfonnance of official duties in the maintenance, operation and
repair of such utilities and other improvements is hereby reserved.


ARTICLE 23. RIGHT OF INSPECTION; INGRESS/EGRESS
          A.          The DPL and its agents shall have, upon reasonable notice, the right to
enter the Premises at any time for inspection purposes in order to determine whether the
provisions of the Lease are being complied with by the Lessee, to serve notices required
under this Lease or for any other purpose deemed necessary by the DPL. In addition,
DPL shall have the right to inspect and examine all the books, records, documents, and
accounts of the Lessee or its sublessees, from time to time.
          B.          The DPL reserves to the CNMI Government the right to order cessation of
all operations on the Premises until further notice should the CNMI Government, any
agency thereof, or the DPL determine the Lessee is not exercising a high degree of care
in protecting the safety of persons and property in the conduct of its activities on the
Premises.
          Regardless of the above provisions, it always remains the sole responsibility and
duty of the Lessee to ensure that the operation is operated in a safe and healthful manner.


ARTICLE               24. CONDEMNATION
          The DPL and Lessee covenant and agree that in the event the whole property
hereby leased shall be taken in condemnation proceedings or by any right of eminent
domain, or otherwise, for public purposes, then and on the happening of any such
event, the DPL or Lessee, may tenninate this Lease and the Tenn hereby granted and
all the rights of the Lessee hereunder, and the rent shaU be paid up to the date of such
condemnation or termination and any unearned rent paid in advance by the Lessee shall
be refunded pro rata. In the event any portion of the property hereby leased is condemned
or taken by right of eminent domain or otherwise for public purposes, thereby rendering
the leased property unsuitable for the purpose of Lessee as stated in Article 2 above, then
and on the happening of such event Lessee may terminate this Lease and the Term hereby
granted, and all the rights of the Lessee hereunder and the rent shall be paid up to the
date of such termination or condemnation and any unearned rent paid in advance by the
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 Lessee shall be refunded pro rata. If Lessee does not terminate this Lease upon such
 event, then the rent shall be reduced in proportion to the land taken as such bears to the
 total area of land leased. The DPL and the Lessee may each independently                   file
 separate claims in such proceedings              for the purpose of having the value of their
respective interests determined, and the award shall be paid accordingly; but if the public
or governmental authorities shall object or refuse to permit separate claims to be proved
and/or distributed in such manner, the DPL will prosecute all claims for damages to
the Premises on behalf of both the DPL and the Lessee (and authority to do so is hereby
granted), and after deducting all reasonable expenses incurred by the DPL incident
thereto, the balance of said award shall be divided between the DPL and the Lessee as
established in that proceeding.          In the event the DPL prosecutes the claim on behalf of
both parties hereto, all such awards shall be paid to the DPL for the account of the DPL
and Lessee as hereinbefore provided.


ARTICLE 25. COVENANT AGAINST DISCRIMINATION
           The use and enjoyment of the Premises shall not be in support of any policy
which discriminates against anyone based upon race, creed, sex, color, national origin, or
a physical handicap, or as provided by Commonwealth or Federal laws.


ARTICLE             26. ABANDONMENT              OF PREMISES
           Should the Lessee fail to use the Premises for the purpose set forth in this Lease
for a consecutive period of ninety (90) days without securing the written consent of the
DPL, the Lessee shall be deemed to have abandoned the Premises, so that in such event
this Lease may, at the option of the DPL, be terminated pursuant to the provisions of
Article 28 hereof without further notice to the Lessee .


ARTICLE             27. DEFAULT
         Time is of the essence and Lessee shall automatically be in default of this Lease if:
           A. Failure to pay.          Lessee shall fail to pay any installment or rent hereby
reserved or shall fail to pay any taxes or other charges required to be paid by Lessee within
thirty (30) days after the due date under the terms of this Lease.
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          B. Other Breach of Lease.          Lessee shall breach any term, provision or
covenant of this lease, other than the payment of rent, true.es,or other charges, and fails
to cure such breach within thirty (30) days from and after written notice from the DPL.
          C. Insolvency or Bankruptcy.         Lessee, its successors and assigns, becomes
insolvent or file for relief under the United States Bankruptcy Code.
          D. Abandonment. Lessee abandons the Premises as provided in Article 26.
          Upon the occurrence of Lessee's default of this Lease as described above, all
Lessee's rights under this Lease are terminated, including, but not necessarily limited to
Lessee's right to use the Premises. Any notices, as may be required by law or this Lease,
shall be delivered as provided by Article 20 of this lease.


ARTICLE.           28. REMEDIES
         Upon termination of Lessee's rights under this Lease pursuant to Article      27,
the DPL may terminate this Lease and may, upon fifteen (15) days written notice, enter
in, into and upon the leased premises and take possession of all buildings, fixtures and
improvements         except Lessee's removable personal property,      trade fixtures and
equipment, and evict Lessee without liability of trespass. The remedies herein shall not
prejudice the DPL's other rights and remedies at law or equity.




ARTICLE 29. ACCORD AND SATISFACTION
         No payment by Lessee or receipt by the DPL of a lesser amount than the annual
rent herein stipulated shall be deemed to be other than on account of rents due, nor shall
any endorsement or statement on any check or any letter accompanying any check or
payment of rent be deemed an accord and satisfaction, and the DPL may accept such
check or payment without prejudice to the DPL's right to recover the balance of such rent
or pursue any other remedy provided in this lease. In the event that the rent or any other
monies which are due hereunder by Lessee are delinquent, the DPL may, upon the
receipt of any payments, apply them to any account or period it shall determine in its
discretion.


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        ARTICLE 30. WAIVER OF BREACH
                  Waiver by the DPL of any breach of any term, covenant or condition herein
        contained shall not be deemed to be a waiver of any subsequent breach of the same or
        any other term, covenant or condition herein contained. The acceptance of rent by
        the DPL shall not be deemed to be a waiver of any of the terms or conditions including
        the remedies of DPL hereof. No covenant herein shall be deemed waived by the DPL
        unless such waiver is in writing by the DPL.


        ARTICLE 31. EXPENSE OF ENFORCEMENT
                 If an action is brought by the DPL for rent or any other swns of money due
        under this Lease, or if any action is brought by either the DPL or Lessee to enforce
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        performance of any of the covenants and/or conditions of this Lease, the losing and

~       defaulting party shall pay reasonable attorney's fees to be fixed by the Court as a part of the


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        costs in any action.


0      ARTICLE 32. INDEMNIFY, DEFEND AND HOLD HARMLESS
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~                As a part of the consideration hereof, the Lessee hereby releases and forever
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 =     discharges and agrees to indemnify and hold harmless the DPL, the CNMI Government,
CQ
0      their successors, employees and assigns, from any and all injury or loss and all liability
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       for injury or loss to persons or property which occur on the Premises or which arise out
       of or in connection with any activities under this Lease during the Term of this Lease,
       any extension thereto or during any holdover by Lessee.
                As part of the consideration hereof, the Lessee also agrees to defend the DPL, the
       CNMI Government, their successors, employees and assigns, from and against any claim,
       demand or lawsuit with respect to the subject of the indemnity contained herein, whether
       or not such claims, demands or actions are rightfully or wrongfully brought or filed and
       against all costs incurred by the DPL, the CNMI Government, their successors,
       employees and assigns therein. In case a claim should be brought or an action filed with
       respect to the subject of indemnity herein, Lessee agrees the DPL, the CNMI
       Government, their successors, employees and assigns may employ attorneys of their own
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       Garapan,Saipan
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 selection to appear and defend the claim or action on their behalf, al the expense of the
 Lessee. The DPL, the CNMI Government, their successors, employees and assigns, at
 their own option, shall have the sole authority for the direction of the defense, and shall
 be the sole judge of the acceptability of any compromise or settlement of any claims or
 actions against them.


ARTICLE 33. COVENANT AND ENJOYMENT
          The DPL covenants that the Lessee, upon paying the rent required herein and
upon fulfilling all the conditions and agreements required of the Lessee, shall and may
lawfully, peacefully and quietly have, hold, use, occupy and possess and enjoy the property
during the Term agreed upon without any suit, hindrance, eviction, ejection, molestation, or
interruption whatsoever of or by the DPL, or by any other person lawfully claiming by,
from, under or against the DPL.


ARTICLE 34. GOVERNMENT REQUIREMENT
          Lessee shall procure all licenses, certificates, permits, and other required
authorizations        from any other governmental authorities having jurisdiction     over
the Operation of the Lessee under this Lease. Lessee shall provide the DPL with
copies of all such licenses, certificates, permits and other required authorizations
from other governmental              authorities no later than the Commencement    Date of
this Lease.


ARTICLE 35. UNLAWFUL USE AND COMPLIANCE WITH LAWS
        Lessee covenants and agrees not to use or cause or permit to be used any part of
the Premises for any unlawful conduct or purpose. Lessee agrees to comply with all
property, building, health, sanitation, safety and other laws and regulations of the
Commonwealth of the Northern Mariana Islands, which are in effect or which may
hereafter become effective.


ARTICLE 36. HOLDOVER CLAUSE
          If the Lessee fails to vacate the Premises upon the expiration, termination or
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                       (CNMI), LLC
Garapan, Saipan
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 cancellation of this Lease, Lessee shall be deemed a holdover Lessee.      Such holdover
 Lessee shall be obligated to pay the DPL a holdover fee during the holdover period of not
 less than 115% of the monthly-prorated Guaranteed Annual Minimum Rental for the Five
 Year Period immediately preceding the holder period, or the alternative percentage of
 gross receipts as provided in Article     4A. Payment of such liquidated damages shall in
 no way constitute a limitation upon any other rights or remedies the DPL may be entitled
 to pursue for violation of the Lease, for trespass or illegal possession or for any other
cause of action arising out of holdover Lessee's failure to vacate the Premises including
the right to evict the Lessee without court action, and the cost thereof to be paid by the
Lessee.


ARTICLE 37. CONDITION OF PREMISES
         The Lessee aclrnowledges that it bas examined the Premises prior to the making of
this Lease and knows the conditions thereof, and that no representation other than those
expressed herein have been made by the DPL, and the Lessee hereby accepts the
Premises in its present condition at the Commencement Date of this Lease.


ARTICLE 38. VACATING THE PREMISES
          Subject to the provisions of Article 9 above, upon the expiration or earlier
termination or cancellation of the Lease, the Lessee shall quietly and peacefully vacate
the Premises and surrender the possession thereof. The DPL may, at its option, require
the removal of all improvements and property on the Premises, or it may require all
improvements, except removable personal property, trade fixtures and equipment, remain
on the Premises and become the property of the DPL after tennination of this Lease.
Upon the failure or neglect of the Lessee to remove its property from the Premises or
restore the Premises, the DPL, its officers or agents, may enter the Premises and remove
all persons and property therefrom without recourse to any action or proceeding at law or
in equity. Such removal and/or restoration shall be at the cost and expense of the Lessee,
and no claim for damages of any nature whatsoever against the DPL, the CNMI
Government or any officer or agent thereof shall be created by or made on account of
such removal.
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         ARTICLE 39. PUBLIC AUDITOR
                    This Lease is subject to 1 CMC § 7845. The Lessee shaU provide, upon request of
         the Public Auditor of the Commonwea1th all records and reports, and shall allow audit,
         inspection, access and the right to copy its books, records, documents, correspondence, and
         any other data and material relating to this Lease, to the Public Auditor, and do any other
         acts required under 1 CMC § 7845. This right of access, inspections, and copying shall
         continue until the expiration of three (3) years after the final payment under the Lease is
         made, or such other time as set forth in 1 CMC § 7845.


         ARTICLE 40. GENERAL PROVISIONS AND DEFINITIONS
Q                   A. Waiver. No waiver of any default of the Lessee hereunder shall be implied
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         from any omission by the DPL to take any action on account of such default if such

~        default persists or is repeated, and no express waiver shall affect the default other than
         the default specified in the express waiver, and that only for the time and to the extent
         therein stated. One or more waivers of any covenant, term or condition of this Lease by
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00       the DPL shall not be construed as a waiver of any subsequent breach of the same
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        covenant, tenn or condition. The consent or approval by the DPL to or of any act by
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        the Lessee requiring the DPL's consent or approval shall not be deemed to waive or
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0       render unnecessary the DPL's consent or approval to or of any subsequent or similar
~
        acts by the Lessee. The acceptance of Lease fees by the DPL shall not be deemed to be a
        waiver of any of the tenns or conditions, including the remedies of the DPL . No
        covenant of this Lease shal] be deemed waived by either party unless such waiver is in
        writing and signed by the party waiving the covenant.
                    B. Agreement Complete. It is hereby expressly        agreed that this Lease,
        together with the exhibits attached hereto, contains all of the tenns, covenants,
        conditions and agreements between the parties hereto relating in any manner to the use
        and occupancy of the Premises, and that the execution hereof has not been induced by
        either of the parties by representations, promises or understandings not expressed herein
        and that there are no col1ateral agreements, stipulations, promises or understandings
        of any nature whatsoever between the parties hereto relating in any manner to the use
        LeaseAgreement
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        Garapan, Saipan
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and occupancy of the Premises, and none shall be valid or of any force or effect, and that
the terms, covenants, conditions and provisions of this Lease cannot be altered, changed,
modified or added to except in writing signed by the parties hereto.
          C. Interpretation. The language in all parts of this Lease shall be in
alJ cases construed simply, according to its fair meaning, and not strictly for or against
the DPL or the Lessee. Captions and paragraph headings contained herein are for
convenience and reference only, and shall not be deemed to limit or in any manner
restrict the contents of the paragraph to which they relate.
          D. DPL's Representative.        The authorized representative of the DPL for
purposes of this Lease shall be the Secretary of the Department of Public Lands
or his/her designee.
          E. Lessee's Representative.        The authorized representative of the Lessee
for purposes of this Lease shall be CAI, Lingli, President of the Corporation, or
whomever the Board of Directors of the Lessee may from time to time designate
in writing.
          F.     Law Governing. This Lease shall be governed by the laws of the
Commonwealth of the Northern Mariana Islands, both as to performance and
interpretation therein. If any provision of this Lease shall be held invalid under the
laws of the Commonwealth of the Northern Mariana Islands for any reason, the same
shall in no way impair the validity of the remaining provisions of this Lease, and the
remaining provisions of the Lease shall otherwise remain in full force and effect.
           G. Gross Receipts. "Gross Receipts", as that term is used herein, means
all income or revenue whatsoever, including money and any other thing of value, received
by or paid to the Lessee, its sublessees or concessionaires, or received by or paid to
others for the use and benefit of any of the aforementioned, derived from business
done, sales made or services rendered directly from or on the leased Premises or the
Initial Gaming Facility outside of the Premises, or derived from the subleasing, sub-
renting, permitting, contracting, or other use of the same. The Lessee shall not directly
or indirectly divert from inclusion in Gross Receipts any income or revenue whatsoever
derived from the leased Premises to any other business or enterprise located elsewhere.
For the avoidance of doubt, revenue derived from activities on private land upon which a
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        portion of the Initial Gaming Facility is constructedshall be considered Gross Receipts for
        all purposes of this Lease.
                           The following items may be deducted from the gross receipts:
                           1)      credits for the exchange of goods or merchandise from the premises to
       another store or stores owned or operated by the Lessee, its parent or affiliate, where such
       exchange is made solely for the convenience of business and not for the pwpose of
       consummatinga sale previouslymade directlyor indirectlyfrom or upon the Premises;
                           2)      to the extent the same shall have been included in "Gross Receipts",
       there shall be deducted credits to customers for returned merchandise, merchandise
       trade-ins, exchanges, merchandise cancellations, allowances and discounts, and any and
       all credits to customersof a similar nature;
                           3)      the amount derived from the sale or other disposition             of
       fixtures, goodwill, improvements, furnishings, equipment, accessory, appliance, utensils
       or any other item of property: (i) which is either sold outside the ordinary course of the
 i     Lessee's business; or (ii) which is not acquired or held by the Lessee as a stock-in-trade or
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....
 Cl    inventory for resale in the ordinary course of the Lessee's business;
Cl.)

0                          4)      to the extent the same has been counted in the 11Gross Receipts 11,
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C      there shall be deducted an amount equal to all income or revenue accruing or paid to the
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0      Lessee or for its benefit which is derived from the rental, leasing, or grant of facilities on
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       the Premises to any sublessee or concessionaire primarily for the purpose of operating
       on the Premises a retail or wholesale sales or service facility whose income or revenue is
       counted as a part of the 11Gross Receipts" of this Lease.


       For the avoidance of doubt, no capital gains earned upon the assignment or transfer of the
       Premisesshall be included in the definition of"Gross Receipts" for purposes of calculating
       the rent due from Lessee pursuant to Article 4 hereof.


       H. Initial Gaming Facility. "Initial Gaming Facility" shall mean a newly constructed
       complex consisting of two hundred and fifty (250) rooms with casino floor space of
       approximately2,200 square meters (excluding back areas) and related amenities. The IGF
       guest rooms, services, and facilities shall be at the quality identified by the AAA Lodging
        Leart Agreement
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       Garapan,Saipan
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 Criteria for five star establishments.
ARTICLE 41. LEASE AGREEMENT BINDING
           This Lease and the covenants, conditions and restrictions hereof shall extend to
and be binding upon the parties hereto, their heirs, successors and assigns and to any
other person claiming to hold or to exercise any interest by, under or through any of the
parties hereto.


ARTICLE 42. PARENT GUARANTEE
           In further consideration for this Lease, Lessee's parent corporations Best
Sunshine International Limited, Imperial Pacific International Holdings Limited, and
Inventive Star Limited jointly and severally guarantee full performance of all terms and
conditions to be performed under this Lease including but not limited to, prompt
payment of any and all obligations that may arise under this lease as follows:
          A. Guarantors, jointly and severally, will in all respects guarantee the due and
               proper performance of the Lease and the due observance and prompt
               performance of all obligations, duties, undertakings, covenants, warranties,
               and conditions by or on the part of the Lessee contained therein and to be
               observed and performed by Lessee, which guarantee shall extend to include
               any variation or addition to the Lease throughout its Term and any permitted
               extension thereof .
          B. If Lessee fails to carry out, observe or perform any of such obligations, duties
               undertakings, covenants, warranties and/or            conditions under the Lease
               (unless relieved from the performance of any part of the Lease by statute or
               by the decision of a court or tribunal of competent jurisdiction) the
               Guarantors will be jointly and severally liable for and shall indemnify the
               DPL against all losses, damages, costs and expenses, whatsoever which the
               Beneficiary may incur.
          C. The Guarantors, (or any one of them), shall not be discharged or released
               from this Guarantee by the occurrence of any one or more of the following:-
                     1.       Any alteration to the nature of extent of the Lease;
                    2.        Any allowance of time, forbearance, indulgence          or other
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Garapan,Saipan
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                             concession granted to the Lessee under the Lease or any other
                             compromise or settlement of any dispute between the DPL and the Lessee
                              3.     The liquidation, bankruptcy, administration, absence of legal
                             personality, dissolution, incapacity or any change in the name,
                             composition or constitution of the Lessee or the Guarantor(s).


                    D. This Guarantee is a continuing guarantee and accordingly shall remain in
                         operation until all obligations, duties, undertakings, covenants, conditions
                         and warranties now or hereafter to be carried out or perfonned by the Lessee
                         under the Contract shall have been satisfied or performed in full and is in
                         addition to and not in substitution for any other security which the DPL may
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                         at any time hold for the performance of such obligations and may be enforced
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                         without first having recourse to any such security and without taking any

~...                     other steps or proceedings against the Lessee.

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C.
 ~                  E. So long as any sums are payable (contingently or otherwise) by the Lessee to
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Q                        the DPL under the terms of the Lease then the Guarantors shall not exercise
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lf)
                         any right of set off or counterclaim against the Lessee or any other person or
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 0                       prove in competition with the DPL in respect of any payment by the
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      .                  Guarantors hereunder and in case either Guarantor receives any sum from the
                         Lessee or any other person in respect of any payment of the Guarantors
                         hereunder the respective Guarantor shall bold such monies in trust for the
                         DPL so long as any sums are payable (contingently or otherwise) under this
                         Guarantee.


                   F. Guarantors will not, without prior written consent of the DPL hold any
                         security from the Lessee or any other person in respect of the Guarantors'
                         liability hereunder or in respect of any liabilities or other obligations of the
                         Lessee to the Guarantors. The Guarantors will hold any security held by it in
                         breach of this provision in trust for the DPL.


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          Garapan, Saipan
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            G. This Guarantee is in addition to and not in substitution for any present and
                 future guarantee lien or other security held by the DPL. The DPL' s rights
                 under this Guarantee are in addition to and not exclusive of those provided by
                 law.
            Guarrantors each agree to waive any corporate protection under the law
 pertaining to such guarantee of full perfonnance hereunder.
 ARTICLE 43. COUNTERPARTS
           This Lease may be executed in separate counterparts, each counterpart when so
 executed shall be deemed an original, and all counterparts when take together shall
 constitute one and the swne Lease.
           IN WITNESS WHEREOF, the parties hereunto set their respective hands, the
 date and year first written above.
 LESSOR:
                                       UBLICLANDS




      Secretary




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         COMMONWEALTHOF THE                                )
         NORTHERNMARIANA ISLANDS                           )              ACKNOWLEDGMENT
                                                           )
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         SAIPAN.NORTHERN MARIANA ISLAND)


              On this"Jll1!,day of        \   ~     , 2015, before me, a Notary Public in and for
        the Commonwealth of the N~Mariana               Islands, personally appeared Pedro A,
        Tenorio, Secretary of the Department of Public Lands, known to me to be the person
        whose name is subscribed to the foregoing instrument and acknowledged to me that he
        executedthe same as his free and voluntary act and deed for the purpose set forth therein.

                  IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official
        seal the day and year first above written.




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!       By:~~                                                           Date:   4-21-.J.5
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p.;               EDWARD MANIBUSAN
                  Attorney General




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LESSEE:
IMPERIAL PACIFIC INTERNATIONAL (CNMI), LLC




By:                                                                  Date:
   M
      Chi             cutive Officer



COMMONWEALTH OF THE                                      )
NORTHERN MARIANA ISLANDS         )                                   ACKNOWLEDGMENT
                                 )
SAIP AN, NORTHERN MARIANA ISLAND )



        On this'~      day of~\               , 2015, befure me, a Notary Public in and fur
the Commonwealth of the NortheMariana           Islands, personally appeared Mark Brown,
known to me to be the person whose name is subscribed to the foregoing instrument and
acknowledged to me that he executed the same as his free and voluntary act and deed on
behalf Chief Executive Officer of Imperial Pacific International (CNMI), LLC, a Limited
Liability Company established under the laws of the Commonwealth of the Northern
Mariana Islands for the purpose set forth therein.



            IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official
seal the day and year first above written.




                                                                              JEMIMAf. NOOIS
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 NOW IN CONSIDERATIONOF THE SUM OF ONE UNITED STATES DOLLAR ($1.00)
 (THE RECEIPT AND SUFFICIENCYOF WHICH THE GUARANTORSHEREBY
 ACKNOWLEDGE)THE GUARANTORSHEREBY COVENANT WITH THE DPL AS IS
 SET FORTH IN ARTICLE 42 ABOVE.

 GUARRANTORS
 INVENTIVE STAR LIMITED



 By=·'--~'------'v"'----
              ark Brown
           Authorized Signatory



COMMONWEAL TH OF THE            )
NORTHERN MARIANA ISLANDS        )                              ACKNOWLEDGMENT
                                )
SAIPAN, NORTHERN MARIANA ISLAND )




        On this ~day         of~
the Commonwealth of the NortheMnriana
                                         I ,    2015, before me, a Notary Public in and for
                                               Islands, personally appeared Mark Brown,
known to me to be the person whose name is subscribed to the foregoing instrument and
acknowledged to me that he executed the same as his free and voluntary act and deed on
behalf and as authorized signatory of Inventive Star Limited, a company established
under the laws of the British Virgin Islands for the purpose set forth therein.



          IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official
seal the day and year first above written.




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Garapan, Saipan
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IMPERIALPACIFIC INTERNATIONALHOLDINGS,LIMITED

                  .             ~
By:
          Mar Brown
          Aut orized Signatory


COMMONWEALTH OF THE                                 )
NORTHERN MARIANA ISLANDS                            )           ACKNOWLEDGMENT
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SAlPAN, NORTHERN MARIANA ISLAND )



        On thiSQ.91-\t.day of~\             , 201S, before me, a Notacy Public in and for
the Commonwealth of the NortheMariana Islands, personally appeared Mark Brown,
known to me to be the person whose name is subscribed to the foregoing instrument and
acknowledged to me that he executed the same as his free and voluntary act and deed on
behalf and as authorized signatory of Imperial Pacific International Holdings, Limited, a
company established under the laws of the British Virgin Islands for the purpose set forth
therein.



          IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official
seal the day and year first above written.




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 BEST SUNSHINE INTERNATIONAL,LIMITED


 By.~~~~
                        ·zed Signatory


 COMMONWEALTH OF THE             )
 NORTHERN MARIANA ISLANDS        )                                 ACKNOWLEDGMENT
                                 )
 SAIPAN, NORTHERN MARIANA ISLAND )



        On this~        day o~\               , 2015, before me, a Notary Public in and for
the Commonwealth of the NortheMariana           Islands, personally appeared Mark Brown,
known to me to be the person whose name is subscribed to the foregoing instrument and
acknowledged to me that he executed the same as his free and voluntary act and deed on
behalf and as authorized signatory of Best Sunshine International, Limited, a company
established under the laws of the British Virgin Islands for the purpose set forth therein.



           IN WITNESS WHEREOF, I have hereunto set my hand and affixed my official
seal the day and year first above written.




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